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     Patrick K. Hanly (SBN 128521)
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 3
     Attorney for Defendant
 4   Jian Hong Liang
 5

 6

 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          )    Case Nos: 06-337 and 06-390 EJG
                                                        )
11                 Plaintiff,                           )    REQUEST TO EXONERATE APPEARANCE
                                                        )    BOND & ORDER
12          vs.                                         )
                                                        )    Date: N/A
13   JIAN HONG LIANG,                                   )    Time: N/A
                                                        )    Courtroom: Honorable Edward J. Garcia
14                 Defendant.                           )
                                                        )
15                                                      )
                                                        )
16                                                      )
17

18
            Defendant was released on an appearance bond secured by the equity in real property pending
19
     trial. Defendant was convicted at trial and is currently in custody awaiting sentencing. Defendant now
20
     requests that the appearance bond be exonerated.
21

22   Dated: August 5, 2011                                  ________/s/___________________
                                                            Patrick K. Hanly
23

24
            IT IS SO ORDERED.
25
            Dated: August 9 2011                            /s/ Edward J. Garcia
26                                                          HONORABLE EDWARD J. GARCIA
27                                                          United States District Court Judge

28


                                        REQUEST TO EXONERATE BOND
